      Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 1 of 13




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                          No. 4:21-CR-00172-11

       v.                                          (Chief Judge Brann)

NAZIRAH SHOWELL,

             Defendant.

                                     ORDER

      AND NOW, this 8th day of October 2021, IT IS HEREBY ORDERED that

the captioned case will be governed by the following:

      1.    Trial. The trial will commence with the drawing of a jury on

December 6, 2021, at 9:30 a.m. in Courtroom No. 1, Fourth Floor, United

States Courthouse and Federal Building, 240 West Third Street,

Williamsport, Pennsylvania. No continuance will be granted except for

extraordinary circumstances.

      2.    Motions deadline.

            (A)    All pretrial motions, except motions in limine, and except for

      good cause shown shall filed within fifteen (15) days of arraignment. The

      motion must be accompanied by a brief. See paragraph 14 of this order.

            (B)    A motion for a bill of particulars is governed by Rule 7 of the

      Federal Rules of Criminal Procedure.
       Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 2 of 13




             (C)   Motions in limine shall be filed not less than ten (10) days prior

      to the date scheduled for jury selection.

      3.     Caption. The name of the judge to whom this case is assigned shall

appear under the case number.

      4.     Conference. Within ten (10) days after the date of this order, the

United States Attorney, or one of his assistants, and the attorney for the defendant

shall meet in the United States Attorney’s Office, Third Floor, United States

Courthouse and Federal Building, 240 West Third Street, Williamsport,

Pennsylvania. At that conference, the government shall:

             (A) Permit the attorney for the defendant to inspect and copy or
      photocopy any relevant written or recorded statements or confessions made
      by the defendant or copies thereof within the possession, custody, or control
      of the government, the existence of which is known, or may become known
      to the attorney for the government;

             (B) Permit the attorney for the defendant to inspect and copy or
      photocopy any relevant results or reports of physical or mental
      examinations, and of scientific tests or experiments made in connection with
      the case, or copies thereof, within the possession, custody or control of the
      government, the existence of which is known, or may become known to the
      attorney for the government;

            (C) Permit the attorney for the defendant to inspect and copy or
      photograph any recorded testimony of the defendant before a grand jury
      which relates to the offense charged;

            (D) Permit the attorney for the defendant to inspect and copy,
      photocopy or photograph books, papers, documents, tangible objects,
      buildings or places which are the property of the defendant and which are
      within the possession, custody, or control of the government;



                                         -2-
      Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 3 of 13




             (E) Permit the attorney for the defendant to inspect and copy or
      photocopy the defendant’s prior criminal record in the possession of the
      attorney for the government;

              (F) Permit the attorney for the defendant to inspect, copy or
      photocopy any exculpatory evidence within the purview of Brady v.
      Maryland, 373 U.S. 83 (1963). The government may, however, first redact
      impeachment material that is within the scope of Giglio v. United States, 405
      U.S. 150 (1972). The government shall make all Giglio material available to
      the defendant for inspection or copying at least one week before the start of
      trial, unless the government demonstrates that unique circumstances in the
      case require a later disclosure;

           (G)     Produce all evidence which may be the subject of a Rule 12
      motion;

             (H) If there are multiple defendants named in the indictment, and if
      the government intends to introduce into evidence in its case in chief a
      confession made to law enforcement authorities by one defendant which
      names or makes mention of a codefendant, then the government shall made a
      copy of that statement or confession available to counsel for the non-
      declarant defendant along with a proposal for its redaction to conform with
      the requirements of Bruton v. United States, 391 U.S. 123 (1968). If the
      government makes no such disclosure and turnover, the confession may not
      be received at a joint trial of the declarant and non-declarant defendants. If,
      within ten (10) days after receipt of the confession and its redacted version,
      counsel for the non-declarant defendant makes no objection to the redacted
      statement, he will be deemed to have acceded to the admission of the
      redacted statement into evidence.

      5.    Reciprocal Discovery. The defendant shall provide government

counsel with reciprocal discovery pursuant to Federal Rule of Criminal Procedure

16(b)(1)(A) and (B).

      6.    Disclosure Declined.

            (A) If, in the judgment of the United States Attorney, it would be
      detrimental to the interests of justice to make any of the disclosures set forth

                                         -3-
       Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 4 of 13




      in ¶ 4, disclosure may be declined, and defense counsel advised in writing of
      the declination on or before the date of the conference between counsel;

           (B) If the defendant seeks to challenge the declination, he may
      move the court for relief in the following manner:

                   (i)    No later than seven (7) days after the conference between
             counsel, the defendant shall file a motion for discovery or inspection;

                    (ii) the motion shall set forth (a) a statement showing the
             date and time that the prescribed conference between counsel was
             held; (b) the name of the assistant United States attorney with whom
             the conference was held; (c) all matters which were agreed upon; and
             (d) the matters which are in dispute and which require the court’s
             determination.

      7.     Continuing Duty. Any duty of disclosure and discovery set forth

herein is a continuing one and the United States Attorney shall produce any

additional information gained by the government within ten (10) days after receipt

thereof, subject, however, to the provisions of the paragraph relating to declination

of disclosure. The defendant may move to challenge the declination with respect

to such additional matters within seven (7) days after the government declines to

disclose same.

      8.     Exhibits. The parties shall pre-mark all exhibits which they intend to

introduce as part of their direct case. One copy of the exhibit list and all exhibits

shall be served on the opposing party not later than ten (10) days prior to the

commencement of trial. Objections to the admissibility of exhibits shall be filed

with the court five (5) business days prior to trial. One (1) set of the pre-marked



                                          -4-
          Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 5 of 13




documentary exhibits with exhibit lists in duplicate shall be given the deputy clerk

before or at the outset of trial. The exhibit list shall be in the form attached1.

           All parties are expected to use presentation technology available in the

courtroom to display evidence to the jury. 6.13 JERS System. Training on the

equipment shall be arranged well in advance of trial with the courtroom deputy

and/or systems team member. See “Programs & Services” link and select

“Courtroom Technology” on the district website at www.pamd.uscourts.gov.

Please read thoroughly the “Notice to All Courtroom Technology Users” as

well as the section on “Jury Evidence Recording System [JERS].” Counsel

shall provide in electronic format any exhibits of documents, photographs, videos

and any other evidence that may be reduced to an electronic file, for the use of

Court Personnel and JERS during trial, five (5) business days before jury selection.

Documents and photographs shall be in .pdf, .jpg, .bmp, .tif, or .gif format; video

and audio recordings shall be in .avi, .wmv, .mpg, .wma, or .wav format. Each

electronic exhibit shall be saved as a separate, independent file, and provided to the

Court on a storage device, such as cd, dvd, or flash drive. Exhibits filed shall be

named consistent with their order and name on the exhibit list.

                 For Example:

                 1-1_ Picture of house

                 1-2_ Picture of dog

1
    Please contact Chambers to obtain a Word version of this form.
                                               -5-
       Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 6 of 13




      9.     Witness Statements. Counsel shall pre-mark all statements which

must be produced pursuant to Federal Rule of Criminal Procedure 26.2 so that no

trial delay is encountered at the time the statements are turned over. Voluntary

disclosure at a time earlier than that mandated by the rule is encouraged in order to

avoid delays at trial.

      10.    Authenticity of Exhibits. The authenticity of all exhibits examined

by counsel pursuant to the provisions of ¶ 8 of this order will be deemed to have

been accepted unless counsel files with the court at least five (5) business days

prior to the date of jury selection, or commencement of a nonjury trial:

            (A) A notice that the authenticity of the particular exhibit or
      exhibits will be contested at the trial; and

            (B) A statement delineating why the authenticity of each particular
      exhibit is being challenged.

      11.    Chain of Possession. When defense counsel has examined an exhibit

pursuant to this order, the chain of possession of the exhibit will be deemed to have

been accepted by the defendant unless defense counsel files with the court, at the

time set forth in the previous paragraph relating to notice of challenge of

authenticity of exhibits, a notice that the chain of possession of the exhibit will be

contested by the defendant at trial.

      12.    Scientific Analysis. When the government has disclosed to defense

counsel at the conference set forth in ¶ 4 the scientific analysis of an exhibit

proposed to be introduced at the trial by the government which has been
                                          -6-
       Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 7 of 13




determined by an expert in the field of science involved, the scientific analysis of

the exhibit will be deemed admissible in evidence unless defense counsel files with

the court, at the time set forth in ¶ 10 relating to notice of challenge of authenticity

of exhibits, a notice that the scientific analysis of the exhibit will be contested.

      13.    Depositions. If a videotape deposition is to be used at trial, it must be

accompanied by a transcript of the deposition.

      14.    Motions.

             (A) Concurrence By Opposing Counsel. All motions prior to trial
      shall be written, and shall, with the exception of ex parte motions, contain a
      certification by counsel for the movant that concurrence in the motion by
      opposition counsel has been sought and it has been either given or denied.

             (B) Documents Substantiating Motion. When allegations of fact
      are relied upon in support of a motion, all pertinent affidavits, transcripts,
      and other documents shall accompany the motion unless good cause is
      shown why they cannot be submitted at that time, in which event they shall
      be filed as soon as reasonably possible.

            (C) Certificates of Service. Certificates of service shall be
      attached to the motion following the certificate of concurrence or
      nonconcurrence.

             (D)    Pretrial Motions.

                    (i)    Pretrial motions shall be accompanied by a supporting
             brief. If a supporting brief is not filed in conjunction with the motion,
             the motion will be deemed withdrawn, unless otherwise ordered by
             the court.

                     (ii) A responsive brief shall be filed within ten (10) days of
             the filing of the motion and brief unless service is by mail, in which
             case the respondent shall have thirteen (13) days from the date of
             filing in which to respond.

                                          -7-
      Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 8 of 13




                  (iii) Motions for extension of time must be filed before the
            expiration of the original deadline.

                   (iv) A reply brief may be filed by the original movant in
            rebuttal to new matter raised by the respondent’s brief. Such a brief
            shall be filed within three (3) days after the filing of the responsive
            brief unless service of the responsive brief is by mail, in which case
            the reply brief shall be filed within six (6) days of the filing of the
            responsive brief. The court reserves the right to rule on any motion
            without benefit of a reply brief.

                  (v) The court will not consider motions unless they are
            supported by briefs which describe the factual background for the
            motion and cite legal authority for the requested relief.

            (E) Motions to Extend or Shorten Time. A motion to extend or
      shorten a time period may be granted by the court without waiting for a
      responsive brief.

              (F) Contents of Briefs. Briefs shall contain complete citations of
      all authorities relied upon and shall refer, where applicable, to United States
      Reports, Federal Reporter, Federal Supplement, Federal Rules Decisions and
      Atlantic Reporter 2d. Photocopies of all opinions and articles cited in briefs
      but not contained in the aforementioned reports shall be submitted with the
      briefs.

             (G) Ex Parte Motions. All requests to the court for the issuance of
      subpoenas or writs of habeas corpus ad testificandum shall, except for good
      cause shown, be filed ten (10) days prior to the date set for jury selection and
      shall state with specificity the proposed testimony of each witness and its
      relevance to the case. The witnesses shall be listed in the order of preference
      to the movant.

      15.   Psychiatric Examination. An application for a psychiatric

examination of a defendant shall be made within twenty (20) days of arraignment.

Such request shall cite the statutory authority under which the examination is

sought and shall state the ground(s) on which the necessity of such examination is

                                        -8-
       Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 9 of 13




based. It shall contain the name of the doctor who is to conduct the examination

and a list of three alternative dates and times on which a psychiatrist has agreed to

examine the defendant, if the motion is granted.

      16.    Proposed Voir Dire Questions. Proposed voir dire questions shall

be submitted at least four (4) working days prior to jury selection.

      17.    Points for Charge. Each party shall submit requests for charge at the

beginning of its case in chief unless otherwise allowed or directed by the court.

Proposed points for charge shall not exceed twelve (12) in number, shall be

submitted in triplicate, one to a page, and shall state the best authority for the point.

If the best authority cited is not reported in United States Reports, Federal

Reporter, Federal Supplement, Federal Rules Decisions and Atlantic Reporter 2d, a

photocopy of the pertinent opinion shall be submitted with the point.

Supplemental points for charge may be submitted for matters arising during the

trial which could not reasonably have been anticipated by the party submitting

such additional points. Points for charge shall be submitted to the Court in Word

Perfect compatible format.

      18.    Communications With Court. All letters and other documents

which are mailed to the undersigned judge or the clerk of court shall be addressed

to the United States Courthouse and Federal Building, 240 West Third Street, Suite

218, Williamsport, Pennsylvania 17701. Copies shall be sent by counsel to

opposing counsel. No counsel shall meet with the court or with a law clerk on a
                                          -9-
         Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 10 of 13




matter relating to this case unless opposing counsel is present. Counsel shall not

communicate with the court or with the law clerk by telephone on a matter relating

to this case except by conference call with other counsel on line. Counsel may

make inquiries of a law clerk which are purely procedural or are related to

scheduling. An ex parte communication may be made to report a proposed change

of plea.

         19.   Conflict With Rules of Court or Prior Order. Should any

provision of this order conflict with any rule of court for the United States District

Court for the Middle District of Pennsylvania, or any standing order of this court or

district, such conflicting provision of this order shall control and the rule of court

or standing order shall be suspended in the captioned case to the extent that it

conflicts with this order. If any provision of this order conflicts with a prior order

in this case, such prior order shall be revoked to the extent that it conflicts with this

order.

         20.   Plea Agreements. All plea agreements shall be reduced to writing

prior to the guilty plea hearing and shall be executed by all parties at the hearing

prior to the entry of the guilty plea. A copy of the proposed plea agreement shall

be submitted to the court at least two (2) business days prior to the date scheduled

for the guilty plea hearing.

         21.   Daily Schedule. The following trial schedule will be maintained,

unless otherwise ordered by the court: Each morning session will commence at
                                          - 10 -
        Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 11 of 13




9:30 A.M. and end at 12:30 P.M. Each afternoon session will commence at 1:30

P.M. and end at 5:00 P.M. There will be a ten (10) minute break at approximately

11:00 A.M. and 3:00 P.M. The courtroom doors will be locked during the lunch

hour.

        22.   Trial Transcripts. Post-trial motions will be decided without a

transcript of testimony unless there are unusual circumstances. Counsel are

respectfully cautioned to take adequate notes. Failure to do so will not be a

justification for the transcription of testimony.

        23.   Position of Counsel When Questioning Witnesses. Counsel shall

stand at the podium or remain at counsel table, either standing or sitting, when

questioning witnesses.

        24.   Sidebar Conferences. Counsel desiring sidebar conferences prior to

the commencement of trial at 9:30 A.M. shall notify the court before 9:00 A.M.

Sidebar conferences will be held between 9:15 and 9:30 A.M. before the jury is

brought into the courtroom.

        25.   Closing Arguments. Each attorney’s closing argument will be

limited to one hour unless the attorney has permission from the court to argue for a

more extended period of time. Such permission must be sought prior to the

commencement of argument.

        26.   Polling of the Jury. Any request to have the jury polled must be

made before the court enters judgment and excuses the jury.
                                         - 11 -
      Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 12 of 13




      27.    Post-Trial Motions. Briefing of post-trial motions will be in

accordance with Local Rules 7.5, 7.6 and 7.7. Should the court grant a request for

a transcript of the trial testimony, the moving party’s brief shall be filed within

thirty (30) days of the filing of the transcript. Respondent’s brief will be due

twenty (20) days after the filing of the movant’s brief.


                                        BY THE COURT:


                                        s/ Matthew W. Brann
                                        Matthew W. Brann
                                        Chief United States District Judge




                                         - 12 -
           Case 4:21-cr-00172-MWB Document 259 Filed 10/08/21 Page 13 of 13

Caption:

Case No:

Judge:

Date:

                                       EXHIBIT LIST



               Completed by Counsel                   Completed by Courtroom Deputy
 Exhibit No.          Exhibit Description           Date        Date        Witness
  (P/D-#)                                         Identified Admitted




                                                                               Page 1 of 1
